Case:17-03283-LTS Doc#:17123 Filed:06/21/21 Entered:06/21/21 13:29:04           Desc: Main
                            Document Page 1 of 3




                 United States Court of Appeals
                              For the First Circuit
  Nos. 19-2231
       20-1279

    IN RE: THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO
   RICO, AS REPRESENTATIVE FOR THE COMMONWEALTH OF PUERTO RICO; THE
     FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS
   REPRESENTATIVE FOR THE PUERTO RICO HIGHWAYS AND TRANSPORTATION
     AUTHORITY; THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR
   PUERTO RICO, AS REPRESENTATIVE FOR THE PUERTO RICO ELECTRIC POWER
   AUTHORITY (PREPA); THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD
     FOR PUERTO RICO, AS REPRESENTATIVE FOR THE PUERTO RICO SALES TAX
      FINANCING CORPORATION, a/k/a Cofina; THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO RICO, AS REPRESENTATIVE FOR THE
         EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT OF THE
  COMMONWEALTH OF PUERTO; THE FINANCIAL OVERSIGHT AND MANAGEMENT
   BOARD FOR PUERTO RICO, AS REPRESENTATIVE OF THE PUERTO RICO PUBLIC
                            BUILDINGS AUTHORITY

                                     Debtors
                       ----------------------------------

                 JORGE A. DIAZ MAYORAL; JUAN A. FRAU ESCUDERO

                                   Movants - Appellants

                                             v.

    THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO,
        AS REPRESENTATIVE FOR THE COMMONWEALTH OF PUERTO RICO

                                     Debtor - Appellee


                                       MANDATE

                                   Entered: June 17, 2021

         In accordance with the judgment of May 27, 2021, and pursuant to Federal Rule of
  Appellate Procedure 41(a), this constitutes the formal mandate of this Court.
Case:17-03283-LTS Doc#:17123 Filed:06/21/21 Entered:06/21/21 13:29:04   Desc: Main
                            Document Page 2 of 3




                                        By the Court:

                                        Maria R. Hamilton, Clerk


  cc:
  Julia D. Alonzo
  Ginger D. Anders
  Ann M. Ashton
  Ehud Barak
  Hermann D. Bauer-Alvarez
  Martin J. Bienenstock
  Katiuska Bolanos-Lugo
  Sarah G. Boyce
  Guy Brenner
  Ricardo Burgos-Vargas
  Wandymar Burgos-Vargas
  Raul Castellanos-Malave
  Richard A. Chesley
  Charles Alfred Cuprill
  Margaret Antinori Dale
  William D. Dalsen
  Joseph P. Davis III
  Luis Francisco Del-Valle-Emmanuelli
  Arturo Diaz-Angueira
  Monique Diaz-Mayoral
  Adele M. El-Khouri
  Chantel L. Febus
  Ubaldo M. Fernandez
  Ralph C. Ferrara
  Jessica A. Figueroa-Arce
  Michael A. Firestein
  Carla Garcia-Benitez
  Chad Golder
  Michael R. Hackett
  Mark David Harris
  Vanessa Hernandez Rodriguez
  Stephan E. Hornung
  Lucas Kowalczyk
  Monsita Lecaroz-Arribas
  Jeffrey W. Levitan
  Andres W. Lopez
  Michael Luskin
  Steve Y. Ma
  Rachel G. Miller Ziegler
Case: 19-2231 Document:
Case:17-03283-LTS        80 Page:
                  Doc#:17123        3    Date Entered:06/21/21
                              Filed:06/21/21  Filed: 06/17/2021 13:29:04
                                                                   Entry ID: 6428900
                                                                           Desc: Main
                            Document Page 3 of 3



  Gabriel A Miranda-Rivera
  Timothy W. Mungovan
  Juanita Ortiz Garcia
  Luis E. Pabon-Roca
  Susana I. Penagaricano Brown
  Daniel Jose Perez-Refojos
  Kevin J. Perra
  Paul V. Possinger
  Juan Carlos Ramirez-Ortiz
  Lary Alan Rappaport
  Stephen L. Ratner
  Moraima S. Rios-Robles
  Edwin Rivera Bonilla
  John E. Roberts
  Jennifer L. Roche
  Brian S. Rosen
  Carlos Alberto Ruiz Rodriguez
  Clarisa I. Sola-Gomez
  Jose Alberto Sosa-Llorens
  Laura E. Stafford
  Donald B. Verrilli Jr.
  Steven O. Weise
  Maja Zerjal
